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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND
                               SOUTHERN DIVISION

THE GUARDIAN LIFE INSURANCE                 *
COMPANY OF AMERICA                          *

                      Plaintiff,            *

       v.                                   *      Civil Action No. AW-02-2378

MARC J. GOLDBERG,                           *

                      Defendant.         *
                                       *****
                                   MEMORANDUM OPINION

       Plaintiff the Guardian Life Insurance Company (“Plaintiff” or “Guardian”), as a successor

in interest to Berkshire Life Insurance Company (“Berkshire”), has brought this suit against Marc

J. Goldberg (“Marc Goldberg,” “Marc,” or “Defendant”) for recission of Defendant’s disability

income insurance policy and declaratory relief. Currently pending before the Court is Defendant’s

Motion for Summary Judgment [52]. The Court has reviewed the entire record, as well as the

Pleadings, with respect to the instant motion. No hearing is deemed necessary. See Local Rule

105.6 (D. Md. 2004). For the reasons stated below, the Court will DENY Defendant’s Motion for

Summary Judgment.

                     FACTUAL AND PROCEDURAL BACKGROUND

       The following facts are taken in the light most favorable to the non-movant. In April 2000,

Marc Goldberg sought to obtain disability income insurance, using his father, Roger Goldberg as

broker. Roger Goldberg was a licensed insurance agent. While Roger Goldberg had a broker’s

contract with Berkshire, he was not a Berkshire agent or employee.

       Both parties agree that Marc Goldberg had a history of neck and back pain, which predated

his application for disability insurance. Whether Marc Goldberg disclosed his medical history to
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Berkshire in his application, however, remains the subject of dispute.

                                    The Florida Application

       Marc Goldberg alleges that he first submitted an application for disability insurance with

Berkshire on April 5, 2000, while visiting his parents in Florida. Marc Goldberg’s father, Roger

Goldberg, handwrote this application on a Florida application form (the “Florida Application”). In

Part 2 of the Florida Application, Marc Goldberg disclosed his neck and back history. The Florida

Applications bears both Roger and Marc Goldberg’s signatures. Marc Goldberg claims that after

completing the form, he gave it to his father, along with a premium check. Marc Goldberg has also

stated that Roger Goldberg informed him that he (Roger Goldberg) submitted the application to the

Berkshire general agency in Atlanta, Georgia.

       At some point, Marc Goldberg alleges, his father told him that the agency lost the Florida

Application. Marc Goldberg has testified that three employees of Berkshire, James C. Kilts

(“Kilts”), the general agent for Berkshire’s general agency in Atlanta in April of 2000, and two of

Kilts’ former employees, Melanie Husley-Vineyard (“Husley-Vineyard”) and Jane Brown

(“Brown”), acknowledged that the Company received and lost the Florida Application. The

testimony of these three Berkshire employees, however, directly conflicts with that given by Marc

Goldberg. Kilts, Hulsey-Vineyard, and Brown all have stated that they have no recollection of any

conversation concerning Marc Goldberg’s Florida Application. Furthermore, these witnesses claim

that they cannot remember any customer complaining about a lost application. Berkshire’s general

agency has no record of the Florida application.




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                                     The Georgia Application

       Although Berkshire never received the Florida Application, Berkshire’s records reflect that

it did receive an application for disability insurance on behalf of Marc Goldberg on a Georgia form

(the “Georgia Application”) dated April 27, 2000. The Georgia Application was prepared by Roger

Goldberg, and Marc Goldberg has averred that his father submitted the Georgia Application without

his knowledge. Marc Goldberg also has stated that he did not sign the Georgia Application, even

though the signature on the form appears to be his, and that he first became aware of the existence

of the Georgia Application during discovery in this litigation.

       The Georgia Application mirrored the Florida Application in most respects. Part 2 of the two

forms differed significantly, however. Whereas the Part 2 of the Florida Application disclosed Marc

Goldberg’s history of neck and back pain, Part 2 of the Georgia Application omitted any reference

to Marc Goldberg’s treatment for neck and back injuries. In addition, Part 2 of the Georgia

Application did not indicate that Marc Goldberg had received psychological or psychiatric care.

       Despite the fact that Marc Goldberg claims that he did not know about the Georgia

Application, he does concede that he received a fax containing pages from the Georgia Application

in May 2000. Berkshire transmitted certain pages of the Georgia Application to Marc Goldberg in

an effort to obtain additional information from him. When he received this fax, Marc Goldberg

acknowledges that he read over the fax, made a couple of corrections to the information, and sent

the revised pages back to Berkshire. Marc Goldberg states that he did not realize that the pages were

from a Georgia application for disability insurance rather than a Florida application, but admits that

he noticed the faxed application was not the one he originally filled out.

       Marc Goldberg also recalls that his father showed him a fax, dated June 15, 2000, concerning


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the Georgia Application. Noticing that Marc Goldberg’s signature on the Georgia form appeared

different than his signature on a paramedical form in Berkshire’s possession, Berkshire sent a fax

to Roger Goldberg inquiring about the perceived discrepancy. In response to this fax, Marc

Goldberg wrote a letter to Berkshire, which stated, “All signatures provided on the Berkshire Long-

Term Disability Insurance Application are mine.”           When asked about this letter and his

correspondence with Berkshire in 2000 about the Georgia Application, Marc Goldberg has

maintained that he believed that Berkshire’s questions referred to the Florida Application.

                                 The Paramedical Examination

       After contacting Marc Goldberg with these questions about the Georgia forms, Berkshire

continued to process the Georgia Application. As part of the application for disability insurance,

Berkshire required that Marc Goldberg undergo a paramedical examination. Berkshire hired

Portamedic of Vienna, Virginia to conduct this examination. On April 29, 2000, paramedical

examiner Celeste Grab (“Grab”) visited Marc Goldberg’s residence in Arlington, Virginia to

perform the required examination. Marc Goldberg’s wife, Ayelet was also present during the

paramedical examination.

       All parties agree that initially Grab collected blood and urine samples from Marc. As part

of the examination, Grab also had to complete a two-page form that listed nearly twenty questions

about the proposed insured’s health. The version of this form attached to Marc Goldberg’s

application for insurance only has check marks in the “No” column, including in response to

Question 5(g), which asks whether Goldberg had or was treated for “injury, strain or sprain

involving the back.” The “No” box is also checked next to Question 5(d), which asks whether

Goldberg had or was treated for “anxiety, stress, depression or other mental, emotional or psychiatric


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disorder.” Marc Goldberg admits that this form contains false information, but the parties have

vastly different explanations of how these erroneous answers came to appear on this form. Marc

Goldberg claims that Grab arrived at this house without an appointment shortly before he had to

head to the airport to catch a flight. Because Marc Goldberg had “only a few minutes” for the

examination, he testified that it seemed “unlikely” that Grab had time to ask him the twenty or so

questions about his health. Marc Goldberg Dep. at 277. When shown the two-page questionnaire,

Goldberg replied that Grab had not asked him the questions on the form. Marc Goldberg Dep. at

284. Ayelet Goldberg gave similar testimony and stated in an affidavit that she “d[id] not believe

that Ms. Grab asked [her] husband any questions about his health . . . . She [Grab] was in [the]

apartment such a short period of time that there would have been no time to ask nearly 20 questions

about [Marc Goldberg’s] health.” Ayelet Goldberg Aff. at 2. Ayelet Goldberg also testified that

Grab did not ask her any questions about her husband’s health. Ayelet Goldberg Aff. at 2.

       Although Marc Goldberg maintains that Grab never asked him the questions on the two-page

form, he concedes that he might have signed the form.1 Marc Goldberg explains that if he did sign

the form, he did not know what he had signed, stating:

               I might have, at the time, thought I was signing for the blood and
               urine sample. I might have thought I was signing to get her out of my
               house. I don’t know.

Marc Goldberg Dep. at 297. He also states that he spoke to Grab to discuss the events of that day

and that Grab stated that she had filled in the answers on the questionnaire.

       Grab’s testimony, however, conflicts with that given by Marc and Ayelet Goldberg. At her



       1
         By signing the form, the signatory attests and acknowledges the statements made in the
form are his or her own and are complete and true to the best of his knowledge.

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deposition, Grab did not specifically recall conducting Marc Goldberg’s paramedical examination,

but stated that she would not have signed the two-page form as a witness unless he reviewed the

form and signed it. Viewing her signature on the form, Grab stated, “I’m attesting that he signed

this, that he looked at this . . . . He answered no to all these questions.”

                                         The Virginia Form

       At some point, while Berkshire was processing the Georgia Application, an employee at

Berkshire, Jane Brown, discovered that Marc Goldberg should have completed a Virginia

application form for insurance because, at the time, Marc Goldberg lived in Arlington, Virginia.

Brown then attempted to transfer the information from Marc Goldberg’s Georgia Application onto

a Virginia application form (the “Virginia Application”). Because Berkshire had the Georgia

Application, it continued to underwrite the case, and Berkshire determined that it would obtain Marc

Goldberg’s signature on the Virginia Application on delivery of the policy.

       Brown testified that Berkshire must have informed Roger Goldberg about the Virginia

Application and that Roger Goldberg must have known that Berkshire completed the Virginia

Application after reading the instructions on the policy placement sheet, dated July 20, 2000,

delivered to him with Marc’s disability policy (the “Policy”). In particular, these instructions

directed Roger Goldberg to return the following documents to Berkshire: a“[s]igned and [d]ated

page 4 and 5 of Part I VA Application”; a “[s]igned and [d]ated VA Consent Form”; and a “[s]igned

and [d]ated VA Financial Supplement.” Pl. Ex. 31.

       Roger Goldberg forwarded these documents to his son along with a letter, advising Marc to

speak with him before signing and returning the documents to Berkshire. Marc Goldberg Dep. at

385-86. Marc has testified that he followed his father’s advice and looked over the policy


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amendments, but that he did not look at the application attached to the policy. Marc Goldberg has

also stated that he did not notice that the application attached to the policy was not the one he

initially completed, the Florida Application.

        Although Roger Goldberg’s letter requested that Marc sign the necessary documents, Marc

did not immediately return the requested pages of the Virginia Application. Concerned that

Berkshire had not received Marc’s signature pages, Melanie Hulsey-Vineyard sent a fax to Marc

Goldberg, on August 28, 2000, aptly titled “Re: VA application.” This fax asked Marc Goldberg

to complete and return the pages that required his signature. Responding to Berkshire’s fax, Marc

Goldberg signed the Virginia Application on September 25, 2000. At his deposition, Marc Goldberg

stated that he retained a copy of this fax in his personal files, but never noticed the “VA” in the title

of the fax. He also averred that while he recalled reading the attached application pages before he

signed them, he did not notice the “VA” in the lower-left hand corner of these pages.

                               Marc Goldberg’s Claim for Benefits

        In June 2001, Marc Goldberg submitted a claim for benefits under the Berkshire policy. In

his claim, Marc Goldberg stated that he had become disabled as of April 20, 2001 due to anxiety and

bi-polar disorder. Berkshire initially paid the claim under a reservation of rights, but continued to

conduct an investigation of the claim. In June 2002, Berkshire terminated Marc Goldberg’s

disability payments, alleging that he had made material misrepresentations as to his medical history

and condition in his application for disability insurance. When Berkshire terminated his payments,

Marc Goldberg already had received payments under the policy totaling $46,900. Amend. Compl.

¶ 27.

        Guardian filed suit, as successor in interest to Berkshire, on July 16, 2002 in this Court. The


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Amended Complaint seeks declaratory relief and recission of the Policy. At the close of discovery,

Marc Goldberg filed the instant motion for summary judgment, on May 31, 2005. This motion is

ripe and ready for the Court’s disposition, and the Court now will rule on this motion.

                                   STANDARD OF REVIEW

       Summary judgment is only appropriate if there are no genuine issues of material fact and the

moving party is entitled to judgment as a matter of law. Fed. R. Civ. P. 56(c); see Celotex Corp. v.

Catrett, 477 U.S. 317, 323-25 (1986). In a motion for summary judgment, the moving party

discharges its burden by showing an absence of evidence to support the non-moving party’s case.

Celotex, 477 U.S. at 325. The court must “draw all justifiable inferences in favor of the nonmoving

party, including questions of credibility and of the weight to be accorded to particular evidence.”

Masson v. New Yorker Magazine, 501 U.S. 496, 520 (1991) (internal citations omitted). To defeat

a motion for summary judgment, the non-moving party must come forward and show that a genuine

issue of material fact exists. See Matsushita Elec. Co. v. Zenith Radio Corp., 475 U.S. 574, 587

(1986). While the evidence of the non-movant is to be believed and all justifiable inferences drawn

in his or her favor, a party cannot create a genuine dispute of material fact through mere speculation

or compilation of inferences. See Deans v. CSX Transp., Inc., 152 F.3d 326, 330-31 (4th Cir. 1998);

Beale v. Hardy, 769 F.2d 213, 214 (4th Cir. 1985).

                                           DISCUSSION

       Defendant has moved for summary judgment, contending that Plaintiff cannot prove material

misrepresentation under Virginia law.




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       This Court agrees with Defendant that Virginia substantive law applies to this claim.2 The

Virginia legislature has enacted a statute specifically relating to insurance policies and contracts.

Section 38.2-309 of the Virginia Code provides in relevant part:

               All statements, declarations and descriptions in any application for an
               insurance policy or for the reinstatement of an insurance policy shall
               be deemed representations and not warranties. No statement in an
               application or in any affidavit made before or after loss under the
               policy shall bar a recovery upon a policy of insurance unless it is
               clearly proved that such answer or statement was material to the risk
               when assumed and was untrue.

Va. Code Ann. § 38.2-309 (2005). Because the Policy had only the Virginia Application and the

paramedic examination report attached, Defendant posits that this provision renders it impossible

for Plaintiff to prove that he made a material misrepresentation. This Court cannot agree with this

reasoning.

       Defendant makes several arguments as to why this Court should find that he did not make

material representations on the Virginia Application. Pointing to the fact that Jane Brown drafted

the Virginia Application, Defendant claims that he had no knowledge of the application and

therefore could not have made any representations in the Virginia Application. In addition,

Defendant urges this Court to disregard the paramedic examination report because he has testified

that he did not answer the paramedic health questionnaire.

       First, Defendant claims that technically he did not consent or enter into a contract with



       2
          A federal court sitting in diversity will apply the substantive law of the state in which it
sits. See Erie R.R. Co. v. Tompkins, 304 U.S. 64, 78 (1938). Maryland law follows the rule of
lex locus contractu, which requires a court to apply the law of the state in which the contract was
made. Ward v. Nationwide Mut. Auto. Ins. Co., 614 A.2d 85, 88 (Md. 1992); see also CTI/DC,
Inc. v. Selective Ins. Co. of America, 392 F.3d 114, 118 (4th Cir. 2004).


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Berkshire. Specifically, he relies on the following provision of the Virginia Code:

               No contract of insurance upon a person shall be made or effectuated
               unless at the time of the making of the contract the individual
               insured, being of lawful age and competent to contract for the
               insurance contract (i) applies for insurance, or (ii) consents in writing
               to the insurance contract.

VA Code Ann. § 38.2-302(A). Using syllogistic reasoning, Defendant argues that this provision

combined with Section 38.2-309 militates in favor of granting summary judgment. In particular,

Defendant asserts that he did not consent to the Virginia Application, and since he did not consent

to the Virginia Application, the attachments to the policy do not contain false representations made

by him. Therefore, Defendant argues, Section 38.2-309 prevents this Court from considering the

Virginia Application. Following this argument to its logical end, however, leads to two possible

conclusions: either Marc Goldberg did not have any insurance contract with Berkshire or, if a

contract does exist, Marc Goldberg accepted Berkshire’s counteroffer, the Virginia Application.

See, e.g., Dickerson v. Conklin, 235 S.E.2d 450, 455 (Va. 1977) (noting that insurance contracts

must be based on mutual assent); see also Princess Cruises, Inc. v. General Elec. Co., 143 F.3d 828,

834 (4th Cir. 1998) (noting that Virginia follows common law rule that an acceptance that varies the

terms of the offer is a counteroffer which rejects the original offer); Chang v. First Colonial Savs.

Bank, 410 S.E.2d 928, 931 (Va. 1991) (holding that an acceptance must mirror the offer for a

contract to form). Neither of these theories supports Defendant’s position that he has a legal right

to the over $46,000 Plaintiff has paid him pursuant to this “non-existent” policy. This problem with

Defendant’s argument only underscores that granting summary judgment for Defendant at this stage

would be inappropriate.

       Moreover, based on the record, a fact-finder could determine that Marc Goldberg knew of


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and ratified the Virginia Application. Marc Goldberg received the Virginia Application from his

father in July of 2000. Berkshire requested that Roger get Marc to sign several the pages of the

Virginia Application designated “Part I VA Application,” “VA Consent Form,” and “VA Financial

Supplement.” A reasonable juror could infer that based on this communication, Roger Goldberg

knew about the existence of the Virginia Application. Virginia law generally considers an insurance

broker as an agent of the insured, not of the insurance company. See, e.g., Commercial Union Ins.

Co. v. Charleston Marine Leasing Co., 843 F. Supp. 124, 132 n.5 (E.D. Va. 1994) (holding that one

who solicits insurance on behalf of the insured is an agent of the insured); In re Jones, 19 B.R. 293,

295 (Bankr. E.D. Va. 1982) (stating that a “broker is an agent of the insured, not of the insurance

company”); cf. Pacific Fire Ins. Co. v. Bowers, 175 S.E. 763, 765 (Va. 1934) (ruling that whether

insurance agent acted as an agent for insured or company was a question of fact). As a result, Roger

Goldberg’s knowledge may be imputed to Marc unless: (1) Roger’s behavior raises a presumption

that he would not report the information to Marc, or (2) Roger acted out of a personal motive or

interest, adverse to Marc’s interests. See Allen Realty Corp. v. Holbert, 318 S.E.2d 592, 594-95 (Va.

1984); Fulwiler v. Peters, 20 S.E.2d 500, 502 (Va. 1942).

       In his reply, Defendant challenges this argument, stating that he has presented evidence that,

in fact, Roger Goldberg did not know about the Virginia Application. Defendant has supplied a

September 2001 letter, in which Roger claims that he did not know that Berkshire used a Virginia

form to process Marc’s application for disability insurance. These assertions are unsworn statements

and inadmissible for summary judgment purposes.3            See Fed. R. Civ. P. 56(e) (providing



       3
          Unfortunately, Roger Goldberg has passed away and cannot attest to the veracity of
these statements.

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“Supporting and opposing affidavits shall be made on personal knowledge, shall set forth such facts

as would be admissible in evidence, and shall show affirmatively that the affiant is competent to

testify to the matters stated therein.”); see also Tinsley v. First Union Nat’l Bank, 155 F.3d 435, 443

(4th Cir. 1998) (explaining that unsworn statement of employees could not be considered on motion

for summary judgment); Turner v. Human Genome Science, Inc., 292 F. Supp. 2d 738, 743 (D. Md.

2003) (refusing to consider unsworn statements as proof in a motion for summary judgment);

Metropolitan Life Ins. Co. v. Hall, 9 F. Supp. 2d 560, 561 (D. Md. 1998) (explaining that “[u]nsworn

pleadings do not satisfy Rule 56(e)’s requirements for summary judgment proof”). Rule 56 of the

Federal Rules of Civil Procedure requires that a document “be authenticated by and attached to an

affidavit that meets the requirements of Rule 56(e). . . .” 10A Charles Alan Wright & Arthur R.

Miller, Federal Practice and Procedure § 2722 (3d. 1998); see also Orsi v. Kirkwood, 999 F.2d 86,

92 (4th Cir. 1993) (“It is well established that unsworn, unauthenticated documents cannot be

considered on a motion for summary judgment”). Furthermore, a fact-finder could determine that

it defies credulity to suggest that Roger Goldberg, a licensed insurance agent, did not read the policy

or realize that Berkshire had issued a Virginia policy. Viewing the evidence in the light most

favorable to Plaintiff, Plaintiff has shown a genuine issue of material fact exists as to whether Roger

Goldberg had knowledge of the Virginia Application and if this knowledge may be imputed to Marc

Goldberg.

       Even assuming that Roger Goldberg did not know about the Virginia Application, other

evidence indicates that Marc Goldberg independently knew about this application. Defendant does

not dispute that he “looked over” the policy amendments, which included the Virginia Application.

Nor does Defendant dispute the fact that he signed several pages of the Virginia Application with


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“VA” printed on the pages. Marc Goldberg also admits that he has retained a copy of the August

28, 2000 fax from Berkshire with the subject line “Re: VA application.” Marc Goldberg had several

opportunities to review the policy and the Virginia Application, such that a jury could decide that,

despite his contentions to the contrary, he knew of the Virginia Application.

       This conclusion also comports with the rule set forth in Gilley v. Union Life Insurance

Company, 76 S.E.2d 165 (Va. 1953) and New York Life Insurance Company v. Eicher, 93 S.E.2d

269 (Va. 1956). Although Virginia law generally charges an applicant who signs a document with

knowledge of its contents, these cases hold that an insurer in an action on an insurance policy cannot

avoid liability because of false representations on the application if: “(1) the false answers contained

in the application were inserted by an agent of the insurer, and (2) the answers to the interrogations

contained in the application were truthfully given without fraud or collusion, and (3) the applicant

had no knowledge, actual or constructive, that his application contained false answers.” New York

Life, 93 S.E.2d at 273; see also Gilley, 76 S.E.2d at 170. In New York Life, the Virginia Supreme

Court reiterated, however, that “if the applicant is a party to the fraud of or in collusion with the

insurers agent or has actual or constructive knowledge that his application contains false answers

material to the risk, neither he nor the beneficiary under the policy will be allowed to profit thereby

and the insurer will not be estopped by the knowledge or conduct of its agent from asserting the

falsity of such answers as a bar to its liability on the policy.” New York Life, 93 S.E.2d at 273

(emphasis added). Although Defendant argues that he had no knowledge, actual or constructive,

that the Virginia Application existed, several pieces of evidence appear to contradict this claim. In

particular, Plaintiff’s own admission that he “looked over” the policy refutes his contention that he

had no knowledge of the Virginia Application or its contents. This case turns on the credibility of


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Marc Goldberg’s rendition of the facts. Where, as here, the assessment of credibility remains a

disputed issue of fact, summary judgment is inappropriate. Rainey v. Conerly, 973 F.2d 321, 324

(4th Cir. 1992) (“[t]he determination of what actually happened depends exclusively on an

assessment of the credibility of the respective witnesses [,][t]his assessment is a disputed issue of

fact and, therefore, cannot be resolved on summary judgment”); see also Solis v. Prince George’s

County, 153 F. Supp. 2d 793, 801 (D. Md. 2001). Because a reasonable fact-finder could decide that

Marc Goldberg ratified the Virginia Application, this Court must deny his motion for summary

judgment.

       Plaintiff also argues that even if Marc Goldberg did not ratify the Virginia Application, it can

still prove that he made a material misrepresentation in the attachments to the Policy because he

signed the paramedical examination health questionnaire form. Although Marc Goldberg has given

equivocal testimony regarding whether he signed the questionnaire form, taking the evidence in the

light most favorable to the non-movant, the Court will assume that the form bears his signature.

Defendant again relies on Gilley and New York Life in support of his claim that Plaintiff may not use

the paramedical questionnaire as evidence of a material misrepresentation. Three witnesses, Marc

Goldberg, Ayelet Goldberg, and Celeste Grab, have testified about the April 29, 2000 paramedical

examination. Marc Goldberg has stated that it was “unlikely” that Grab asked him the questions on

the health questionnaire, as he had little time for the paramedical examination. Later, he stated that

Grab did not ask him those questions. Ayelet Goldberg also emphasized that because of the short

amount of time Grab had to conduct the examination, she“d[id] not believe that Ms. Grab asked

[her] husband any questions about his health.” Grab, on the other hand, stated at her deposition that

she did not specifically recall examining Marc Goldberg, but that she would not have signed the


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questionnaire form had she not asked him those questions.4 Defendant claims Grab’s “negative”

testimony cannot overcome the “positive” testimony given by him and his wife.

       This Court finds Defendant’s distinction between positive and negative testimony untenable.

The facts of the case at bar differ from those in Virginia Auto Mutual Insurance Company v.

Brillhart, 46 S.E.2d 377 (Va. 1948), upon which Defendant relies. In Virginia Auto Mutual

Insurance Company, one witness testified that she did not recall if a particular conversation

occurred. Two other witnesses testified that the conversation did take place. Resolving this

apparently conflicting testimony, the Virginia Supreme Court held that because the first witness

remained unsure as to whether the conversation took place, her testimony could not overcome the

positive testimony of the two other witnesses. Id. at 382. The Virginia Auto Mutual court also noted

that other evidence demonstrated that the first witness heard the conversation at issue. Id. In this

case, only Marc Goldberg has given what a court may construe as positive testimony. Yet, this

Court cannot say as a matter of law that even his testimony constitutes “positive” testimony.

Defendant first stated that it was “unlikely” that Grab asked him these questions, but admitted that

he may have signed the form. Then, Defendant stated that Grab may have told him anything to have

him sign the form. These statements do not show that this witness had a specific recollection of the

events of that day. Under these circumstances, a jury could determine that Goldberg supplied the

answers on the health questionnaire.

       In addition, Plaintiff’s wife, Ayelet Goldberg did not specifically recall what Grab said to

Marc Goldberg, but testified in her affidavit that she “d[id] not believe that Ms. Grab asked [her]

husband any questions about his health . . . . She was in [the] apartment such a short period of time


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           Grab did not foreclose the possibility that her memory could be refreshed.

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that there would have been no time to ask nearly 20 questions about [her] husband’s health.”

(Emphasis added). Ayelet Goldberg does not recount the details of the conversation between Grab

and Marc Goldberg, but rather concludes that Grab had no time to ask questions. Conclusory

statements cannot serve as the basis for a motion for summary judgment. See Pachaly v. City of

Lynchburg, 897 F.2d 723, 725 (4th Cir. 1990). Consequently, this Court finds that Ayelet

Goldberg’s testimony does not qualify as positive testimony.

       While Defendant has asserted that Berkshire’s agent wrote in the answers to the questions,

it remains very much in dispute whether Defendant provided Grab with this information.5 The

resolution of this issue, once again, turns on Marc Goldberg’s credibility. As the evidence may lead

a reasonable fact-finder to conclude that Marc Goldberg did provide false answers to Grab, this

Court will not resolve this dispute on a motion for summary judgment.

                                         CONCLUSION

       For the aforementioned reasons, this Court will DENY Defendant’s Motion for Summary

Judgment. An Order consistent with this Opinion will follow.

Date: November 16, 2005                                             /s/
                                                     Alexander Williams, Jr.
                                                     United States District Judge




       5
         Defendant also argues that Grab’s testimony as to her practice would not be admissible
under the Federal Rules of Evidence Rule 406. As this Court is deciding this case without
assuming the admissibility of Grab’s testimony as to her habits, this Court will not address
Defendant’s Rule 406 argument.

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